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vouNG’s TRADrNG COMPANY, ease NO. 03-Cv-2é§‘7" "““" ‘N' ““C"”"i""
a Tennessee Corporation, (JURY TRIAL DEMANDED)

Plaintiff/Counter-Defendant,

FANCY Il\/IPORT, INC., YEONG H. YUN
CHUN H. YI, and HOON G. JEONG,

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-against- )
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Defendants/Counter-Plaintiffs.

 

ORDER GRANTING PLAINTIFF'S MOTION TO ADD ADDITIONAL PLAINTIFF

 

Before the Court is Plaintiffs Motion to add an additional party Plaintiff, Young's

Trading.Com, lnc., and for the reasons set forth below the Motion is granted:
BACKGROUND

This matter was originally filed by the Plaintiff on July 24, 2003_ Under the theories
advanced by the Plaintiff, Young's Trading Company, a Tennessee corporation, asserts that it as
incurred loss injury, and damages before the period of July 24, 2003, do to the actions of the
Defendants. lt is developed through discovery that On January 28, 2003, Young's Trading
Company transferred cenain limited assets into Young's Trading.Com, lnc.J a Tennessee for
profit corporation, which basically encompassed the lnternet business of Young's Trading.
Therefore after January 28, 2003, Young's Trading.Com, Inc., would also have sustained
damages under the theories advanced by the Plaintiffs complaint As it appears to the Court the
Defendants will suffer no prejudice by the addition of an additional party Plaintiff since the

theories of loss injuries, and damages and the amounts of injuries and damages will remain

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unchanged, but incurred and sustain by two (2) separate legal entities both owned and operated
by the same individuals

Rule 20 of the F ederal Rules of Civil Procedure expressly allowed the permissive jointure
of all parties in one action as Plaintiff if they assert any right or claim jointly or severally arising
out of the same transaction, occurrence, or series of transactions or occurrences Additionally,
Federal Rule of Civil Procedure Rule 19 provides for the joinder of all persons needed for the
joint adjudication ofa claim and partial or hollow judgments rather than complete relief to the
parties before the Court is not favored As the Defendants will suffer no harm or prejudice by
the addition ofa second party Plaintiff as the theories of liability injury and loss remain the same
and the amount1 theories, and calculations of damages remain the same yet incurred by separate
legal entities with Young's Trading.Com, lnc., simply being a successor to the original party
Plaintiffs lnternet business

WHEREFORE the Court being fully advised and in the interest of complete justice to
all parties finds that Young's Trading Company l\/lotion to amend to add as an additional
Plaintiff, Young's Trading.Com7 Inc., is well taken and should be granted

It is therefore ORDERED, ADJUDGED, AND DECREEDJ that Young's Trading.Com,
lnc, is added as an additional party Plaintiffin this proceeding

All ofwhich is ordered, adjudged, and decreed this mg day of pr f"i , 2005.

  

 

UNITED sTTEASDISTIC COURT - WESRNTE D"'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
case 2:03-CV-02637 Was distributed by faX, mail, or direct printing on
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Honorable Tu Pham
US DISTRICT COURT

